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                                        June 16, 2022
Via ECF and E-mail
The Honorable Katherine Polk Failla, U.S.D.J.
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

          Re:   In Re: GE/CBPS Data Breach Litigation, Case No. 1:20-cv-2903 (KPF)

Dear Judge Failla:

        I represent Plaintiff in the above-referenced matter. I write pursuant to Rule II.B of Your
Honor’s Individual Rules of Practice in Civil Cases to request an additional (30) day extension of
Plaintiff’s deadline to file a motion for preliminary approval of the class action settlement.
Plaintiff’s current deadline to move for preliminary approval is June 17, 2022.

        On February 21, 2022, the parties filed a Notice of Settlement, informing the Court they
had “reached a settlement in principle and [were] in the process of memorializing their
agreement,” see ECF No. 81, and requesting this case remain stayed for an additional 60 days to
finalize the settlement agreement and move for preliminary approval. Id. On April 13, 2022, the
parties requested an additional 60 days to work towards finalizing a settlement agreement, and
informed the court that there were a small number of outstanding items to be finalized, which the
Court granted.

        At this time, the parties have resolved certain outstanding issues and are hopeful they will
resolve the remaining issues and finalize the settlement agreement over the next week. However,
Plaintiff requests additional time to finalize the settlement agreement and the motion for
preliminary approval. Accordingly, Plaintiff respectfully requests until July 18, 2022 to move
for preliminary approval. The parties are mindful of their previous requests and do not anticipate
requesting further extensions of this deadline.

            Counsel for Defendants joins in this request. Thank you for your consideration to this
matter.

                                                      Very truly yours,




                                                      Alec M. Leslie

cc: All counsel of record (via ECF)
